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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE GREENSKY SECURITIES LITIGATION Case No. 18-cv-11071 (AKH)

 

DECLARATION OF JEFFREY R. YATES

 

I, Jeffrey R. Yates, Retirement Administrator of the Employees’ Retirement System of the
City of Baton Rouge and Parish of East Baton Rouge (“CPERS”), one of the Court-appointed Lead
Plaintiffs in this securities class action (the “Action”), hereby declare under penalty of perjury as
follows:

1, I am the Retirement Administrator of CPERS. Included in my responsibilities is the
oversight and supervision of litigation that occurs on behalf of CPERS, including managing
CPERS’ relationships with outside counsel. I submit this declaration in support of (a) Lead
Plaintiffs’ motion for approval of the proposed Settlement; and (b) Co-Lead Counsel’s motion for
an award of attorneys’ fees and reimbursement of Litigation Expenses, and reimbursement of Lead
Plaintiffs’ expenses.

2, I am aware of and understand the requirements and responsibilities of a lead
plaintiff in a securities class action as set forth in the Private Securities Litigation Reform Act of
1995 (“PSLRA”).

3. I have personal knowledge of the matters set forth in this Declaration, as I have
been directly involved in monitoring and overseeing the prosecution of the Action, and I could and

would testify competently thereto.
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4, CPERS is a $1.2 biilion defined benefit fund operated for the benefit of employees
of the City of Baton Rouge and Parish of East Baton Rouge, as well as its firefighters and some of
its police officers.

5. By Order dated March 29, 2019, the Court appointed CPERS as one of the Lead
Plaintiffs in the Action. In fulfillment of our responsibilities as Lead Plaintiff, and on behalf of all
members of the Class, I have supervised the prosecution of this Action and participated in the
negotiations that ultimately led to the proposed Settlement currently before the Court.

6. Since being appointed as Lead Plaintiff in March 2019, CPERS has devoted
substantial time and energy in discharging its duties as a Lead Plaintiff. On behalf of CPERS, I or
members of my staff working at my direction have, among other things: (i) regularly
communicated with Co-Lead Counsel regarding the posture and progress of the Action; (ii)
reviewed and/or discussed all significant pleadings and motions filed in the Action; (iii) given
extensive deposition testimony; (iv) searched for, reviewed, and produced documents requested
by Defendants; (v) reviewed and/or discussed significant decisions in the Action, including the
decisions to mediate and settle the case; and (vi) actively participated in the mediation that led to
the Settlement. |

7. Based upon our good faith assessment of the strengths and weaknesses of the
Class’s claims, CPERS strongly endorses approval of the Settlement by the Court. Based on our
involvement throughout the prosecution and resolution of the Action, CPERS decided to enter into
the proposed Settlement. CPERS did so with an appreciation of the strengths and weaknesses of
our claims against Defendants and the hurdles the Class would have been required to overcome in

order to prove liability and the full amount of damages at trial.
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8. Based on the foregoing, CPERS believes that the Settlement represents an excellent
recovery for the Class in the face of substantial litigation risks. Accordingly, CPERS strongly
recommends approval of the Settlement as fair, reasonable, and adequate.

9. CPERS takes seriously its role as a Lead Plaintiff to ensure that the attorneys’ fees
are fair in light of the result achieved for the Class and reasonably compensate Co-Lead Counsel
for the work involved and the substantial risks they undertook in litigating the Action, CPERS has
evaluated Co-Lead Counsel’s fee request by considering the work performed and by considering
the substantial recovery obtained by the Class.

10. | CPERS believes that Co-Lead Counsel’s application for attorneys’ fees of 25% of
the Settlement Fund, plus interest, and reimbursement of Litigation Expenses incurred by Co-Lead
Counsel, is fair and reasonable in light of the work performed by Co-Lead Counsel on behalf of
the Class.

11. CPERS is very pleased with the quality of representation provided by Co-Lead
Counsel. Throughout the course of this Action, Co-Lead Counsel has advocated zealously on
behalf of the Class and overcome many litigation hurdles. We are also mindful that Co-Lead
Counsel litigated this Action on a contingency basis, forgoing any payment unless and until
setilement or judgment was obtained.

12, CPERS understands that rermbursement of a Lead Plaintiff's reasonable costs and
expenses is authorized under the PSLRA, 15 U.S.C. § 77z-1(a)(4). For this reason, CPERS seeks
reimbursement for the costs and expenses that it incurred directly relating to its representation of
the Class in the Action.

13. The time I, and my staff at my direction, devoted to the representation of the Class

in this Action was time that we otherwise would have expected to spend on our regular duties on
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behalf of CPERS and, thus, represented a cost to CPERS. CPERS seeks reimbursement in the

amount of $10,097.74 for the time of the following personnel.

 

 

 

 

 

 

 

 

 

 

 

 

Personnel Title Hours Rate Total
Jeffrey Yates Retirement Administrator 70.5 | $53.88 | $3,798.54
Russell P. Smith Assistant Retirement Administrator 7.5 $49.00 | $367.50
Denise Akers Outside General Counsel 24.75 | $240.00 | $5,931.70

Total $10,097.74
14. The chart above sets forth the estimated cost, on an hourly basis, for the services of

each staff member who worked on this Action, in light of annual salaries, benefits, and related
administrative overhead, and the number of hours each staff member works on an annuai basis.
These estimates are conservative in nature and reflect the minimum hourly costs to CPERS for the
services of the individuals in question.

15. For the foregoing reasons, CPERS respectfully requests that the Court approve in
full (a) Lead Plaintiffs’ motion for approval of the proposed Settlement; and (b) Co-Lead
Counsel’s motion for an award of attorneys’ fees and reimbursement of Litigation Expenses, and
reimbursement of Lead Plaintiffs’ expenses.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct, and that I have authority to execute this Declaration on behalf of the

Employees’ Retirement System of the City of Baton Rouge and Parish of East Baton Rouge.

Dated: September 13, 2021

 

Retirement Administrator
Employees’* Retirement System of the City of Baton
Rouge and Parish of East Baton Rouge

 
